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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION

 MABELLE MEYAART
 a/k/a MAI MEYAART
                                                      Case Number: 9:18-cv-80257-RLR

        Plaintiff,

 v.

 TRAVEL LEADERS GROUP, LLC,
 d/b/a and s/k/a TRAVEL LEADERS GROUP,
 NINAN CHACKO and JOHN LOVELL,

        Defendants.

 ______________________________________/

      DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
                  RESPONSE TO PLAINTIFF’S COMPLAINT

        Defendants, NINAN CHACKO and JOHN LOVELL, by and through their undersigned

 counsel and in accordance with Rule 6(b)(1)(A) of the Federal Rules of Civil Procedure, hereby

 file their Unopposed Motion for Extension of Time to File Response to Plaintiff’s Complaint and

 state as follows:

        1.      Plaintiff served Mr. Chacko and Mr. Lovell with a copy of the Complaint on

 February 8, 2018. A response is due today.

        2.      Broad and Cassel LLP was just recently retained and the undersigned filed her

 notice of appearance today.

        3.      A brief extension of two-weeks to respond to the Complaint is requested so counsel

 for Mr. Chacko and Mr. Lovell can discuss this matter with her clients and review relevant

 documentation.




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        4.      This motion is made in good faith and not for purposes of delay. The relief sought

 herein will not prejudice any party.

        5.      The undersigned has conferred with counsel for Plaintiff and the co-Defendant,

 TRAVEL LEADERS GROUP, LLC, who do not object to the relief sought herein.

        WHEREFORE, Defendants, NINAN CHACKO and JOHN LOVELL, respectfully request

 that the Court enter an order granting this Motion and providing such further relief as the Court

 deems just and proper.

                          LOCAL RULE 7.1(a)(3) CERTIFICATION

        In accordance with Local Rule 7.1(a)(3), the undersigned certifies that she has conferred

 with counsel for Plaintiff and counsel for the co-Defendant, TRAVEL LEADERS GROUP, LLC,

 on February 28, 2018, and they do not object to the extension of time sought by this motion.



 DATED:         February 28, 2018            /s/ Kelly B. Holbrook
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                                             Attorneys for Defendants Ninan Chacko and
                                             John Lovell




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 28, 2018, a true and correct copy of the foregoing

 was filed using the Court’s CM/ECF System, which will send a notice of electronic filing to the

 following CM/ECF participants:

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 Attorneys for Defendant, Travel Leaders Group, LLC


                                                    s/ Kelly B. Holbrook
                                                    KELLY B. HOLBROOK, ESQ.




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